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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,                         Criminal Case No. 07-20411

       v.                                        HON. GEORGE CARAM STEEH

 D-6 KEENA BROOKS,

            Defendant.
 _____________________________/

            ORDER DENYING MOTION TO REDUCE SENTENCE (Doc. # 238)

       Defendant Brooks pleaded guilty to conspiring to distribute crack cocaine and was

 sentenced to 132 months of imprisonment in 2009. In 2013, Brooks filed a pro se motion

 to reduce her sentence under 18 U.S.C. § 3582(c)(2). Brooks based her motion on the Fair

 Sentencing Act’s amendments to the crack cocaine sentencing guideline ranges and the

 Sixth Circuit decision of United States v. Blewett, 719 F.3d 482 (6th Cir. 2013), which was

 later overturned by the en banc Blewett decision issued in December 2013. United States

 v. Blewett, __ F.3d __, 2013 WL 6231727.

       In light of the Sixth Circuit’s en banc ruling, and because Brooks’ sentence was

 based on the career offender guidelines, and not the crack cocaine guidelines, Brooks is

 not entitled to relief under the amendments to the Fair Sentencing Act. Brooks’ motion is,

 accordingly, DENIED.

       IT IS SO ORDERED.

 Dated: April 8, 2014
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE
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                                 CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                  April 8, 2014, by electronic and/or ordinary mail and also on
                      Keena Brooks #42180-039, FCI Danbury, Route 37,
                                      Danbury, CT 06811.

                                       s/Barbara Radke
                                         Deputy Clerk
